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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

  UNITED STATES OF AMERICA,                             )
                                                        )
             Plaintiff,                                 )   Case No. 2:23-cv-00173
                                                        )   Judge Nancy Torresen
             v.                                         )
                                                        )
  CHRISTOPHER A. SHELTON, et al.;                       )
                                                        )
             Defendants.                                )

                     STIPULATIONS TO BE FILED AND EFFECTIVE
                        ON DISMISSAL OF BANKRUPTCY CASE

       This agreement is entered by and among the United States, Christopher A. and Joanna

Shelton (“the Sheltons”), Maine Revenue Services, Real Time Resolutions, Inc. (“RTR”), and

joint judgment lienholders William Swartzbaugh, Jeffrey Harder, and Quang Nguyen (“the

Judgment Lienors”) and will become effective and be filed as stipulations in the above-captioned

action upon the dismissal of the Shelton’s bankruptcy case. Deutsche Bank National Trust

Company as Trustee for Soundview Home Loan Trust 2007-1 Asset Backed Certificates Series

2007-1 (“Deutsche Bank”) is not a party hereto as its rights are not affected negatively; to the

contrary, the Sheltons are bound below to cure the mortgage arrearage to Deutsche Bank

promptly. The parties to this action other than the Sheltons are referred to below as “the

lienholder parties” and include Deutsche Bank.

                                             Recitals

       Whereas, the United States commenced the above-captioned action on April 18, 2023, to

(1) reduce to judgment unpaid federal tax liabilities owed by the Sheltons and (2) enforce related

federal tax liens against certain real property belonging to Christopher A. Shelton located at 314

Cousins Street, Yarmouth, Maine (the “Property”).




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       Whereas, the Court granted the United States’ motion for judgment on the pleadings. See

Order Affirming the Recommended Decision of the Magistrate Judge (ECF No. 91) and entered

a judgment in favor of the United States which stated in part as follows:

       a. Judgment is entered against Defendants Christopher A. Shelton and Joanna Shelton
          for income taxes for tax years 2010 through 2021 in the amount of $562,815.88 as of
          January 16, 2023, less payments thereafter, plus statutory additions and interest
          accruing from January 16, 2023, pursuant to 26 U.S.C. §§ 6601, 6621, and 6622, and
          28 U.S.C. § 1961(c);

       b. Plaintiff United States has valid and subsisting federal tax liens under 26 U.S.C.
          § 6321 and 6322 securing the liabilities on the real property at 314 Cousins Street,
          Yarmouth, Maine, which is more particularly described in the deed recorded in the
          Cumberland County Registry of Deeds at Book 22072, Pages 94-95.

       c. A Court-appointed receiver is to conduct a judicial sale of the entirety of the 314
          Cousins Street property and the proceeds of the sale shall be distributed in accordance
          with the Order on Stipulation Regarding Priority Lienholder Parties entered March 8,
          2024 (ECF No. 80).

ECF No. 92.

       Whereas, the lienholder parties, stipulated and agreed to the priorities of their lien

interests. The stipulation described how the proceeds from sale of the Property should be

distributed should it be sold. The Court entered the stipulation as an order on March 8, 2024. See

ECF No. 80.

       Whereas, the United States moved for appointment of a receiver. Specifically, the United

States requested in that motion that the Court enter an order appointing Betsey Ducas of

Waypoint Brokers Collective, as receiver to arrange for the sale of the Property, consistent with

the Court’s judgment and adoption of the Magistrate’s Report and Recommendation.

       Whereas, on July 2, 2024, the Sheltons filed a Petition for Relief under Chapter 13, Title

11, United States Code, in the United States Bankruptcy Court for the District of Maine, Portland

Division with case number 24-20136, staying this district court by operation of 11 U.S.C. § 362.

Accordingly, the Court stayed the district court action, instructing the parties to refile any


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motions pending at the time of the bankruptcy petition if and when that becomes appropriate. See

ECF No. 98.

        Whereas, in the bankruptcy case, the Sheltons proposed a plan under which they would

sell the Property by June 30, 2025, and make certain plan payments and whereas some of the

parties hereto thereafter negotiated the terms set forth below but determined that they are more

efficiently implemented with significant expense savings by dismissing the bankruptcy case and

using this district court action as the vehicle to carry them out. The other parties hereto agree.

                                               Terms

        Therefore, the undersigned parties agree to the following terms and provisions:

1.   Christopher and Joanna Shelton will voluntarily dismiss their Chapter 13 bankruptcy action

     currently pending in the United States Bankruptcy Court for the District of Maine on or

     before September 11, 2024.

2.   Christopher and Joanna Shelton agree to waive any challenge of the judgment the District

     Court entered against them on May 8, 2024. See ECF No. 92. This includes appealing the

     judgment or challenging the judgment in the District Court by, for example, refiling their

     motion under Rule 52(b) and Rule 59, see ECF No. 93.

                                        Payments Required

3.   By Monday, September 23, 2024, the Sheltons must pay the full arrearage owed on their

     primary mortgage and become fully current including making any payment due on or that

     date. The Sheltons must thereafter timely make all mortgage payments coming due after

     satisfying the arrearage. According to the schedules in the Sheltons’ bankruptcy action, the

     arrearage as of the bankruptcy petition date was in the amount of $8,556.42. The Sheltons




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     must provide proof of satisfaction of this arrearage as well as all subsequently due monthly

     payments, through their counsel, by no later than October 1, 2024.

4.   By September 15, 2024, the Sheltons must make their third quarter federal estimated tax

     payment for tax year 2024 By October 15, 2024, the Sheltons must be current on all federal

     and state estimated tax payments (i.e., by having paid at least three-fourths of their 2023-

     year tax not covered by withholdings). They must thereafter make timely estimated quarterly

     tax payments. Federal estimated tax payments shall not be mailed to the Service Center and

     instead shall be mailed to Revenue Officer Susan Marston along with Form 1040-ES and the

     check shall state that the payments are “For 2024 Tax” or “For 2025 Tax” as applicable, or

     another means approved by the United States. State of Maine estimated tax payments shall

     be mailed to Office of the Maine Attorney General, Attn: Kaitlyn Husar, 6 State House

     Station, Augusta, Maine 04333 and the check shall state the payments are “For 2024 Tax” or

     “For 2025 Tax” as applicable.

5.   Starting October 1, 2024, and on the first of each month thereafter until the Property is sold,

     the Sheltons agree to make monthly payments (through their attorney as set forth below) of

     the approximate interest amounts accruing on the liens of the other parties hereto as follows

     (these figures are binding regardless of their accuracy as the actual interest amounts

     accruing):

                  a. $4,093.00 to the United States;

                  b. $1,025 to RTR;1


1
 This payment is based on the $115,000 at 10.7% interest rate that has priority over the United
States pursuant to the stipulation on priority between lienholder parties in the District Court
action. See ECF No. 74. The Sheltons did not enter into that stipulation. Accordingly, the
Sheltons may still challenge RTR’s interest in the Property. However, if the Sheltons



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                c. $849 to Maine Revenue Service; and

                d. $136 to the Judgment Lienors (escrowed as provided below).

     These payments total $6,103. The above payments will be made to Jennifer Hayden of

     Molleur Law (payable to the firm) which will act as the escrow agent holding and

     distributing these funds. Ms. Hayden will be responsible for dividing the payments and

     paying the lienholders the amounts outlined above in this agreement, except that she shall

     retain in escrow the monthly Judgment Lienor payments and distribute them together at the

     earlier of a sale of the Property or a default. Ms. Hayden must receive these payments by the

     first of every month, starting October 1, 2024. The above-listed lienholders must receive the

     payments by the fifth of every month. The Sheltons must continue to make these monthly

     payments until the closing for the sale of the Property occurs even if the closing is scheduled

     for shortly after the next due date.

6.   Mortgage payments to Deutsche Bank are due on the 1st of the month. The Sheltons must

     provide Ms. Hayden proof that they made each monthly payment within 3 days by showing

     her evidence of a debit to whatever bank account the funds are drawn from or against which

     as check is written.

7.   Ms. Hayden must report any missed payment to her under paragraph 4 or any failure to

     receive timely proof of a timely mortgage payment to counsel for the United States by email

     immediately and at most within 48 hours.

8.   The Sheltons must continue to pay all utility bills associated with the Property and must

     keep the Property in good condition. The United States reserves the right to ask for proof of




successfully challenge RTR’s interest, RTR may keep the monthly payments it received up to the
Court’s decision in favor of the Sheltons.


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     payment of mortgage payments and/or utility bills which shall be provided within five dates

     and may ask to assess the condition of the Property, using one of its agents to inspect on five

     days notice.

                                        Sale of the Property

9.   Provided that the Sheltons do not violate any provision in this agreement, the Sheltons may

     sell the Property subject to the additional conditions below.

10. The Sheltons shall engage a real estate agent to conduct the sale. The engagement of the real

     estate agent must be an arms-length transaction, where the Sheltons receive no personal

     benefit for engaging that particular real estate agent and the agent is not a friend or relative.

     The United States’ preference is that Betsey Ducas of Waypoint Brokers Collective handle

     the sale. The Sheltons must disclose to the United States the real estate agent they chose to

     use, and United States must approve the selection of real estate agent after interviewing the

     agent, which approval shall not be unreasonably withheld. The chosen real estate agent must

     communicate transparently with the United States during the sale process by answering any

     questions about viewings or offers.

11. The Property must be listed by April 15, 2025, at a listing price determined in consultation

     with their real estate agent in good faith after the agent has inspected the interior of the

     Property, with the initial listing price subject to approval of the United States which

     approval shall not be unreasonably withheld.

12. The Property must be under sale contract by June 30, 2025, and any sale theretofore

     contracted must close within 30 days. Either deadline may be extended by the United States

     or over its objection for good cause provided that the Sheltons are complying with all other

     terms of these stipulations, but in no event may the contract deadline be extended beyond




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    July 31, 2025, unless all lienholder parties consent. The failure of a closing to occur under a

    contract for sale due to purchaser default shall not constitute good cause to extend the

    deadline unless another purchaser has made an acceptable offer and has signed a contract for

    sale.

13. The Sheltons must provide the identity of the potential buyer to the United States before

    entering into a contract of sale for the Property. The buyer must be an arms-length buyer

    unless the nature of any relationship is fully disclosed and approved by the United States and

    it agrees that the sale price is nevertheless appropriate in light of the real estate agent’s view

    of whether the price reflects the offer reflects the best offer likely to be received.

14. Also before entering into a contract of sale for the Property, the United States must approve

    the final sale price. In no event shall the Property be sold for less than $900,000 unless

    approved by all lienholder parties.

15. The preceding two paragraphs’ conditions shall not apply to a sale contract under which the

    proceeds will satisfy the liens of all lienholders but including only $115,000 for RTR (unless

    its lien has been held to be unenforceable or it has settled with the Sheltons for a lesser sum).

16. Any purchase and sale contract entered for the sale of the Property shall require the

    purchaser to deposit at least 3% of the purchase price as earnest money. Any forfeited

    earnest money deposit due to the purchaser’s failure to comply with the terms of the contract

    shall be deposited into the registry of the district court and subject to disposition according

    to law.

17. All lienholder parties shall provide any purchaser’s title insurer or attorney with acceptable

    assurances that their liens, to the extent satisfied, will be released at or shortly after the

    closing of any sale and the title insurer or attorney may demand that the funds to satisfy any




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    lienholder party’s debt be escrowed until appropriate documentation has been provided,

    except that the United States Department of Justice may promise (in writing) the IRS will

    release satisfied federal tax liens or discharge the Property from any liens not fully satisfied

    within 30 days of receipt of the funds as it customarily does when there is a sale by a

    receiver or an agreed sale to settle tax collection litigation.

                                                Default

18. A default is a violation of any of the provisions of this agreement and can include but is not

    limited to the following:

               a. Failure to pay Deutsche Bank mortgage arrearage by September 21, 2024;

               b. Failure to make timely estimated quarterly federal income tax payments and
                  to timely cure the current failure to have made all required estimated quarterly
                  federal income tax payments;

               c. Failure to make timely estimated quarterly State of Maine income tax
                  payments as provided in this agreement;

               d. Failure to make timely monthly interest payments to the Molleur Law firm;

               e. Failure to make timely payments on the Deutsche Bank mortgage;2

               f. Failure to timely pay utility bills;

               g. Failure to list the Property or have it be under contract for at least $900,000 by

                   the dates specified above.

19. If a default occurs, no notice or declaration of default is required, and the United States may

    immediately move the District Court for appointment of a receiver on a shortened response

    time of only three business days. The motion will be similar to the motion the United States

    previously filed. See ECF No. 94. The Sheltons waive all rights to challenge the motion



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 If a monthly payment is delayed at no fault of the Sheltons, as attested to by Ms. Hayden, that
delay is not considered a default under this agreement.


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    except the defense that the default did not occur or was cured before the motion was filed.

    Curing the default after the filing of such a motion does not constitute a defense against the

    United States’ motion for appointment of a receiver. The Sheltons shall then be required to

    vacate the Property within 30 days of the appointment of a receiver.

20. The Sheltons may not refile for bankruptcy for purposes of avoiding or stalling the

    appointment of a receiver or the receiver’s sale of the Property. In the event they or either of

    them files a bankruptcy petition after a default under this agreement, regardless of the

    purpose, the Sheltons waive opposition to an emergency motion to lift the stay to permit the

    district court action to continue including the appointment of a receiver if not already

    appointed and the marketing and sale of the Property and further waive opposition to a

    motion to withdraw the reference so that the District Court may determine the motion to lift

    the stay.

                                           Miscellaneous

21. Upon the dismissal of the Sheltons’ bankruptcy case, the United States may file this

    document along with a motion to hold the district court action in abeyance, subject to the

    enforcement of the terms of this agreement should that become necessary.

22. The Sheltons shall file a status report at the time the Property is listed for sale, indicating the

    listing price, and another report if the Property is under contract for sale. The United States

    shall inform the Court if the Property has been sold and shall file a satisfaction of judgment

    if the judgment has been satisfied by the proceeds of a sale.

23. The Debtors shall pay Molleur Law the attorney’s fees incurred during the bankruptcy, to

    the extent not covered by the bankruptcy retainer, in monthly installments of $1,500 until




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For Real Time Resolutions, Inc.

/s/ Joan Egdall
Joan M. Egdall
Demerle & Associates P.C.
10 City Square
Boston, MA 02129
617-934-7431
jegdall@demerlepc.com


For Deutsche Bank National Trust Company as Trustee for Soundview Home Loan Trust 2007-1
Asset Backed Certificates Series 2007-1,

/s/ Brett Messinger
Brett L. Messinger
Duan Morris, LLP
2 Monument Square, Ste. 505
Portland, ME 04101-3406
blmessinger@duanemorris.com

Judgment Lienor, pro se,

/s/ William Swartzbaugh
_____________________
William Swartzbaugh
3 Lyndon Way
Kittery, ME 03904


Judgment Lienor, pro se,

_____________________
Jeffrey Harder
5 Oakland Road
Falmouth, ME 04105


Judgment Lienor, pro se,

/s/ Quang Nguyen
_____________________
Quang Nguyen
4 Robyn Avenue
Westbrook, ME 04092




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